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JOSEPH & KIRSCHENBAUM LLP
Attorneys at Law
Charles Joseph                                                                                 32 Broadway, Suite 601
D. Maimon Kirschenbaum                                                                           New York, NY 10004
Denise Schulman                                                                                  Phone (212) 688-5640
Josef Nussbaum                                                                                      Fax (212) 688-2548
Lucas C. Buzzard                                                                                      www.jk-llp.com
Michael DiGiulio
Leah Seliger



       August 30, 2024

       VIA ECF

       Honorable PeggyKuo
       United States Magistrate Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                         Re:   Buscaino v. Dircksen & Talleyrand, Inc. d/b/a/ River Café and Ariel
                               Echevarria (22 cv 7572)(AMD)(PK)


       Dear Judge Kuo:

               This firm represents Plaintiff Danielle Buscaino in the above-referenced matter. Pursuant
       to your Honor’s Individual Practice Rules, we write to request an extension of time to file our
       Response to Defendants’ Motion for Summary Judgment filed on August 12, 2024 (ECF #39-#43).
       Plaintiff’s Response is currently due on September 11, 2024. We are requesting a brief extension
       until September 20, 2024. Defendants consent to this request for an extension. We also ask that
       Defendants receive an additional ten days, until October 14, 2024, to file their Reply.

              This is Plaintiff’s first request for an extension of time to file her Response. Thank you for
       the Court’s consideration of this request.


                                                     Respectfully Submitted,


                                                     /s/ Leah Seliger
                                                     Leah Seliger
